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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL DARDASHTIAN, individually and

on behalf of COOPER SQUARE VENTURES

LLC, NDAP, LLC and CHANNEL REPLY
Plaintiffs,

-against-

DAVID GITMAN, ACCEL COMMERCE,
LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAIEV, OLESKKII
GLUKHAREV and CHANNEL REPLY, INC.
Defendants.

DEFENDANTS submit the following:

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) Case No. 17 CV 4327 (LLS)(RWL)
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) PROPOSED AMENDED
) SCHEDULING ORDER
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1. Paper discovery and ES] production shall be completed by April 15, 2019;

2. Fact witness depositions shall be completed by June 28, 2019;

3. Expert reports shall be exchanged by August 16, 2019;

4. Expert depositions shall be completed by September 16, 2019;

5. The Parties shall file dispositive motions by October 15, 2019; and

6. The joint pretrial order shall be submitted within 30 days after a decision on

dispositive motions.

7. The parties shall be permitted at any time to file an application with the Court
addressing non-compliance with discovery.

SO ORDERED
Dated:

 

Robert W. Lehrburger, U.S.M.J.
